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8                                 UNITED STATES DISTRICT COURT
9                               SOUTHERN DISTRICT OF CALIFORNIA
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11     ROBERT ALEXANDER KASEBERG,                         Case No.: 15cv1637-JLS(MSB)
12                                       Plaintiff,
                                                          ORDER SETTING IN-PERSON
13     v.                                                 SETTLEMENT CONFERENCE
14     CONACO, LLC, et al.,
15                                   Defendants.

16
17          On April 11, 2019, counsel for the parties jointly contacted the Court regarding
18    scheduling an in-person Settlement Conference and provided their suggested date for
19    the conference. Accordingly, the Court sets an in-person Settlement Conference for
20    May 6, 2019, at 1:30 p.m., in the chambers of Magistrate Judge Michael S. Berg located
21    at 221 West Broadway, Suite 3145, San Diego, CA 92101. All discussions at the
22    Settlement Conference will be informal, off the record, privileged, and confidential.
23    Counsel for any non-English speaking party is responsible for arranging for the
24    appearance of an interpreter at the conference.
25                 a.    Personal Appearance of Parties Required: All named parties, party
26    representatives, including claims adjusters for insured defendants, as well as the
27    principal attorney(s) responsible for the litigation, must be present in person and legally
28    and factually prepared to discuss and resolve the case. Counsel appearing without their
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                                                                                   15cv1637-JLS(MSB)
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1     clients (whether or not counsel has been given settlement authority) will be cause for
2     immediate imposition of sanctions and may also result in the immediate termination of
3     the conference.
4                   b.      Full Settlement Authority Required: A party or party representative
5     with full settlement authority1 must be present at the conference. Retained outside
6     corporate counsel shall not appear on behalf of a corporation as the party
7     representative who has the authority to negotiate and enter into a settlement. A
8     government entity may be excused from this requirement so long as the government
9     attorney who attends the Settlement Conference has (1) primary responsibility for
10    handling the case, and (2) authority to negotiate and recommend settlement offers to
11    the government official(s) having ultimate settlement authority.
12                  c.      Requests to Continue a Settlement Conference: Any request for
13    relief from any of the provisions or requirements of this Order, must be sought by a
14    written application.
15           IT IS SO ORDERED.
16    Dated: April 11, 2019
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      1 “Full settlement authority” means that the individuals at the settlement conference must be
24    authorized to fully explore settlement options and to agree at that time to any settlement terms
      acceptable to the parties. Heileman Brewing Co. v. Joseph Oat Corp., 871 F.2d 648, 653 (7th Cir. 1989).
25
      The person needs to have “unfettered discretion and authority” to change the settlement position of a
26    party. Pitman v. Brinker Int’l, Inc., 216 F.R.D. 481, 485–86 (D. Ariz. 2003). The purpose of requiring a
      person with unlimited settlement authority to attend the conference contemplates that the person’s
27    view of the case may be altered during the face to face conference. Id. at 486. A limited or a sum
      certain of authority is not adequate. See Nick v. Morgan’s Foods, Inc., 270 F.3d 590, 595–97 (8th Cir.
28    2001).
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